                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )            No. 3:09-cr-00240-16
v.                                                )
                                                  )            Judge Nixon
OMEGA HARRIS                                      )

                                           ORDER

       The Court GRANTS Defendant’s Motion for Leave to Manually File Audio Recording.

(Doc. No. 2884.)

       It is so ORDERED.

       Entered this the 3rd day of March, 2016.



                                                  ________________________________
                                                  JOHN T. NIXON, SENIOR JUDGE
                                                  UNITED STATES DISTRICT COURT




Case 3:09-cr-00240      Document 2888        Filed 03/03/16   Page 1 of 1 PageID #: 15532
